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                            UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION


In re:
                                    )
Jodi S. Adkins,                     )     Case No. 21-52632
                                    )     Chapter 7
            Debtor.                 )     Judge Nami Khorrami
                                    )
______________________________________________________________________________

Jodi S. Adkins,                     )
                                    )     Adv. Pro. No. 21-2062
            Plaintiff,              )
v.                                  )
                                    )
US Department of Education, et al,  )
                                    )
            Defendants.             )
_____________________________________________________________________________

                        JOINT PRELIMINARY PRETRIAL STATEMENT

        This is the preliminary pretrial statement of Defendant United States of America, on behalf
of the United States Department of Education (“Defendant”) and Plaintiff Jodi Adkins (“Plaintiff”)

I.       Appearances:

         The trial attorney for Defendant shall be Bethany J. Hamilton, who is admitted to practice
         before this Court.

         The trial attorneys for Plaintiff shall be Melissa Linville and John Cannizzaro, who are
         admitted to practice before this Court.

II.      Nature of Action, Jurisdiction and Venue:

         A.        This is an action to determine the dischargeability of student loan debt and is
                   brought pursuant to 11 U.S.C. § 523(a)(8).

         B.        Jurisdiction of this Court is not disputed and is invoked under 28 U.S.C.
                   §§ 157(b)(2)(I) and 1334.

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        C.         Venue of this Court is proper.

        D.         This action is a core proceeding.

        E.         Consent is given for the bankruptcy judge to enter final orders and judgments.

        F.         If this is a core proceeding, such allegation is based upon 28 U.S.C. § 157(b)(2)(I).

        G.         Are any of the following motions filed or to be filed:

                                                                                Yes     No
                   1.     Abstention                                                    X
                   2.     Remand                                                        X
                   3.     Withdrawal of the Reference                                   X

        H.         If a jury demand has been timely filed, consent is not given for trial by jury by the
                   bankruptcy judge.

III.    Statement of the Case:

Defendant: The evidence will show that Debtor fails to meet the undue hardship standard set forth
in Brunner v. N.Y. State Higher Educ. Serv. Corp., 831 F.2d 395 (2nd Cir. 1987) in order to have
this Court find her student loans dischargeable.

Plaintiff: The evidence will show that Debtor has met the undue hardship standard set forth in
Brunner v. N.Y. State Higher Educ. Serv. Corp., 831 F.2d 395 (2nd Cir. 1987) such that this Court
should find her student loans dischargeable.

IV.     Amendments/Motions: (check one)

__X__(a)           The attorney states that all amendments to pleadings and all pretrial motions,
                   including all motions listed above, and all motions pursuant to Bankruptcy Rule
                   7012 and Bankruptcy Rule 7056, or motions which convert to a motion under
                   Bankruptcy Rule 7056, have been filed, or

_____(b)           If all amendments and pretrial motions have not been filed, the attorney states that
                   the following amendments and motions are contemplated; (list or attach as an
                   exhibit the specific amendments and motions and the proposed date(s) by which
                   such will be filed.)

V.      Issues of Fact and Law:


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        A.         The contested issues of fact are:

                   1.     Whether the Debtor can maintain, based on current income and expenses, a
                          minimal standard of living for herself if she repaid the loans.

                   2.     Whether additional circumstances exist indicating that this state of affairs
                          is likely to continue for a significant portion of the repayment period of
                          the student loans.

                   3.     Whether the Debtor has made a good faith effort to repay the loan.

        B.         The contested issues of law are:

                   1.     Whether Debtor has met the standard set forth in Brunner v. N.Y. State
                          Higher Educ. Serv. Corp., 831 F.2d 395 establishing repayment of her loans
                          are an undue hardship.

                   2.     Whether the Debtor can demonstrate undue hardship as that term is
                          interpreted for purposes of 11 U.S.C. § 523(a)(8).

VI.     Discovery:

        A. Initial Disclosures.

        Initial disclosures required by Civil Rule 26(a)(1) have been sent by Defendant. Plaintiff
        is preparing to submit its initial disclosures and additional evidence to Defendant (see
        Settlement below).

        B. Civil Rule 26(f) Conference.

        The parties conducted the Rule 26(f) conference on February 23, 2022.

        C. Discovery Plan.

        In compliance with Civil Rule 26(f), the following constitutes the parties' discovery plan
        (use separate paragraphs or subparagraphs if parties disagree):

                   (a)    Discovery will be needed on the following subjects: (brief description of
                   subjects on which discovery will be needed)

                   Defendant: Information regarding the Debtor’s financial condition including
                   attempts to secure employment and any relevant health conditions preventing
                   employment. Facts supporting Debtor’s claim of undue hardship, including

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                   Debtor’s past, present, and future financial condition. USDE will also need any
                   information regarding Debtor’s attempts to repay her student loan debt, including
                   working with the creditor to negotiate a repayment plan or hardship determination.

                   Plaintiff: Information regarding Debtor’s loan documentation, payment history,
                   and file with USDE.

                   (b)    All discovery commenced in time to be completed by July 31, 2022.

                   (c)    Maximum of 25 interrogatories by each party to any other party.
                          [Responses due 30 days after service.]

                   (d)    Maximum of 75 requests for admission by each party to any other party.
                          [Responses due 30 days after service.]

                   (e)    Maximum of 1 deposition by plaintiff(s) and 1 by defendant(s).

                   (f)    Each deposition limited to maximum of 1 day or 7 hours unless extended
                          by agreement of parties.

                   (g)    Reports from retained experts under Rule 26(a)(2) due: None anticipated.

                   (h)    Supplementations under Rule 26(e) due 30 days before trial.

        (D)        Other Agreed Upon Items. [Use separate paragraphs or subparagraphs as
                   necessary if parties disagree.]

                   (a)    No additional parties appear necessary to resolve issue of its loans with
                          Plaintiff.

                   (b)    All potentially dispositive motions should be filed by August 31, 2022.

                   (c)    Plaintiff and Defendant are amenable to mediation under Rule 9019-2 of the
                          Local Bankruptcy Rules at the appropriate time.

                   (d)    The proceeding should be ready for trial by September 30, 2022 and at this
                          time is expected to take approximately 4 hours.

VII.    Stipulations:

        The parties have not entered into written stipulations at this time.

VIII. Miscellaneous Matters:

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        A.         Settlement

                   1.      No litigant is required to settle this proceeding; however, all litigants are
                           required to engage in good faith settlement efforts which shall consist of at
                           least one offer and one counteroffer by a party authorized to settle this
                           proceeding. Without disclosing the contents of any settlement efforts, all
                           parties shall set forth below: (a) the date(s) such settlement efforts were
                           conducted, (b) the method(s) of communication employed and (c) the
                           result(s) obtained:

                           At the 26(f) conference, Defendant requested certain documents from
                           Plaintiff in an effort to further settlement discussions. Plaintiff
                           represented they will work to assist in these settlement discussions prior to
                           engaging in formal discovery.

                   2.      Any settlement which occurs prior to the trial date shall be communicated
                           promptly to the judge's courtroom deputy. Failure to make such
                           communication may result in the imposition of costs.

        B.         Pretrial Conference. The Court will order a pretrial conference if review of the
                   Preliminary Pretrial Statement makes such appear necessary. If the Court does not
                   order such a pretrial conference, does the attorney specifically request a pretrial
                   conference? If so, why?

               Plaintiff and Defendant believe that a pretrial conference would assist in resolving
        this matter.

        C.         Other Matters. Counsel advises the Court of the following miscellaneous matters
                   that will aid the Court in preparation of the case for trial.

                   The parties request that they be permitted 60 days to try to settle this matter
                   before a trial date is set. They ask that the Court set a second pretrial conference
                   in 60 days at which time the parties can report if settlement is possible or if a trial
                   on the matter is necessary.


Respectfully submitted,

KENNETH L. PARKER
United States Attorney

/s/ Bethany J. Hamilton
Bethany J. Hamilton (0075139)

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Assistant United States Attorney
303 Marconi Blvd., Ste. 200
Columbus, Ohio 43215
(614) 469-5715
Fax (614) 469-5240
e-Mail: bethany.hamilton@usdoj.gov
Attorneys for Defendant



/s/ Melissa Baker Linville
MELISSA BAKER LINVILLE (0088163)
The Legal Aid Society of Columbus
1108 City Park Avenue
Columbus, OH 43206
614.224.8374 / 614.224.4514 (fax)
Email: mlinville@columbuslegalaid.org
Attorney for Plaintiff



/s/ JohnC. Cannizzaro
JOHN C. CANNIZZARO (0085161)
Ice Miller LLP
250 West Street, Suite 700
Columbus, Ohio 43215
p 614-462-1070 f 614-232-6923
email: john.cannizzaro@icemiller.com
Attorney for Plaintiff




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                               CERTIFICATE OF SERVICE

      The undersigned hereby certifies that on March 10, 2022, service of the foregoing was
made by electronic filing with the Clerk of the United States Bankruptcy Court, using the
CM/ECF system, which will send notification of such filing to the parties listed below:

                     Melissa Baker Linville, Attorney for Plaintiff

                     John C. Cannizzaro, Attorney for Plaintiff



                                                   /s/ Bethany J. Hamilton
                                                   BETHANY J. HAMILTON (0075139)
                                                   Assistant United States Attorney
                                                   Email: bethany.hamilton@usdoj.gov




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